     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 1 of 12 Page ID #:1



      SO. CAL. EQUAL ACCESS GROUP
 1    Jason J. Kim (SBN 190246)
      Jason Yoon (SBN 306137)
 2    Kevin Hong (SBN 299040)
      101 S. Western Ave., Second Floor
 3    Los Angeles, CA 90004
      Telephone: (213) 252-8008
 4    Facsimile: (213) 252-8009
      scalequalaccess@yahoo.com
 5
      Attorneys for Plaintiff
 6    LAMAR MYERS
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      LAMAR MYERS,                              Case No.:
11
                   Plaintiff,                   COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR DENIAL
            vs.                                 OF CIVIL RIGHTS OF A DISABLED
13                                              PERSON IN VIOLATIONS OF
14                                              1. AMERICANS WITH DISABILITIES
                                                ACT, 42 U.S.C. §12131 et seq.;
15    SUNSET ORANGE INVESTMENTS
      LLC; and DOES 1 to 10,                    2. CALIFORNIA’S UNRUH CIVIL
16                                              RIGHTS ACT;
                   Defendants.
17                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT;
18
                                                4. CALIFORNIA HEALTH & SAFETY
19                                              CODE;
20                                              5. NEGLIGENCE
21
22
23
24          Plaintiff LAMAR MYERS (“Plaintiff”) complains of Defendants SUNSET
25    ORANGE INVESTMENTS LLC; and DOES 1 to 10 (“Defendants”) and alleges as
26    follows:
27    //
28    //


                                         COMPLAINT - 1
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 2 of 12 Page ID #:2




 1                                               PARTIES
 2             1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    substantially limited in his ability to walk due to a spinal cord injury. Plaintiff requires
 4    the use of a wheelchair at all times when traveling in public.
 5             2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for a restaurant
 7    (“Business”) located at or about 2540 Santa Fe Ave., Long Beach, California.
 8             3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20             5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.).
28




                                               COMPLAINT - 2
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 3 of 12 Page ID #:3




 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and that all actions complained of herein take place in this district.
 9                                      FACTUAL ALLEGATIONS
10          10.    In or about May of 2023, Plaintiff went to the Business.
11          11.    The Business is a restaurant business establishment, open to the public, and
12    is a place of public accommodation that affects commerce through its operation.
13    Defendants provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with his ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to post required signage such as “Van Accessible,” “Minimum
22                        Fine $250” and “Unauthorized Parking.”
23                 b.     Defendants failed to comply with the federal and state standards for
24                        the parking space designated for persons with disabilities. Defendants
25                        failed to provide proper van accessible space designated for the
26                        persons with disabilities as the access aisle did not meet the minimum
27                        required 96-inch width.
28




                                             COMPLAINT - 3
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 4 of 12 Page ID #:4




 1                 c.     Defendants failed to comply with the federal and state standards for
 2                        the parking space designated for persons with disabilities. Defendants
 3                        failed to provide an access aisle with level surface slope.
 4          14.    These barriers and conditions denied Plaintiff the full and equal access to the
 5    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 6    patronize the Business; however, Plaintiff is deterred from visiting the Business because
 7    his knowledge of these violations prevents him from returning until the barriers are
 8    removed.
 9          15.    Based on the violations, Plaintiff alleges, on information and belief, that
10    there are additional barriers to accessibility at the Business after further site inspection.
11    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
12    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
13          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
14    knew that particular barriers render the Business inaccessible, violate state and federal
15    law, and interfere with access for the physically disabled.
16          17.    At all relevant times, Defendants had and still have control and dominion
17    over the conditions at this location and had and still have the financial resources to
18    remove these barriers without much difficulty or expenses to make the Business
19    accessible to the physically disabled in compliance with ADDAG and Title 24
20    regulations. Defendants have not removed such barriers and have not modified the
21    Business to conform to accessibility regulations.
22                                      FIRST CAUSE OF ACTION
23           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
24          18.    Plaintiff incorporates by reference each of the allegations in all prior
25    paragraphs in this complaint.
26          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
27    shall be discriminated against on the basis of disability in the full and equal enjoyment of
28    the goods, services, facilities, privileges, advantages, or accommodations of any place of



                                             COMPLAINT - 4
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 5 of 12 Page ID #:5




 1    public accommodation by any person who owns, leases, or leases to, or operates a place
 2    of public accommodation. See 42 U.S.C. § 12182(a).
 3          20.   Discrimination, inter alia, includes:
 4                a.    A failure to make reasonable modification in policies, practices, or
 5                      procedures, when such modifications are necessary to afford such
 6                      goods, services, facilities, privileges, advantages, or accommodations
 7                      to individuals with disabilities, unless the entity can demonstrate that
 8                      making such modifications would fundamentally alter the nature of
 9                      such goods, services, facilities, privileges, advantages, or
10                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11                b.    A failure to take such steps as may be necessary to ensure that no
12                      individual with a disability is excluded, denied services, segregated or
13                      otherwise treated differently than other individuals because of the
14                      absence of auxiliary aids and services, unless the entity can
15                      demonstrate that taking such steps would fundamentally alter the
16                      nature of the good, service, facility, privilege, advantage, or
17                      accommodation being offered or would result in an undue burden. 42
18                      U.S.C. § 12182(b)(2)(A)(iii).
19                c.    A failure to remove architectural barriers, and communication barriers
20                      that are structural in nature, in existing facilities, and transportation
21                      barriers in existing vehicles and rail passenger cars used by an
22                      establishment for transporting individuals (not including barriers that
23                      can only be removed through the retrofitting of vehicles or rail
24                      passenger cars by the installation of a hydraulic or other lift), where
25                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26                d.    A failure to make alterations in such a manner that, to the maximum
27                      extent feasible, the altered portions of the facility are readily
28                      accessible to and usable by individuals with disabilities, including



                                           COMPLAINT - 5
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 6 of 12 Page ID #:6




 1                        individuals who use wheelchairs or to ensure that, to the maximum
 2                        extent feasible, the path of travel to the altered area and the
 3                        bathrooms, telephones, and drinking fountains serving the altered
 4                        area, are readily accessible to and usable by individuals with
 5                        disabilities where such alterations to the path or travel or the
 6                        bathrooms, telephones, and drinking fountains serving the altered area
 7                        are not disproportionate to the overall alterations in terms of cost and
 8                        scope. 42 U.S.C. § 12183(a)(2).
 9          21.    Where parking spaces are provided, accessible parking spaces shall be
10    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
15          22.    Under the ADA, the method and color of marking are to be addressed by
16    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17    Building Code (“CBC”), the parking space identification signs shall include the
18    International Symbol of Accessibility. Parking identification signs shall be reflectorized
19    with a minimum area of 70 square inches. Additional language or an additional sign
20    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21    parking space identification sign shall be permanently posted immediately adjacent and
22    visible from each parking space, shall be located with its centerline a maximum of 12
23    inches from the centerline of the parking space and may be posted on a wall at the
24    interior end of the parking space. See CBC § 11B-502.6, et seq.
25          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
26    each entrance to an off-street parking facility or immediately adjacent to on-site
27    accessible parking and visible from each parking space. The additional sign shall not be
28    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



                                             COMPLAINT - 6
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 7 of 12 Page ID #:7




 1    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2    designated accessible spaces not displaying distinguishing placards or special license
 3    plates issued for persons with disabilities will be towed always at the owner’s expense…”
 4    See CBC § 11B-502.8, et seq.
 5          24.    Here, Defendants failed to provide the signs stating “Minimum Fine $250”
 6    and “Van Accessible.” Moreover, Defendants failed to provide the additional sign with
 7    the specific language stating “Unauthorized vehicles parked in designated accessible
 8    spaces not displaying distinguishing placards or special license plates issued for persons
 9    with disabilities will be towed always at the owner’s expense…”
10          25.    For the parking spaces, access aisles shall be marked with a blue painted
11    borderline around their perimeter. The area within the blue borderlines shall be marked
12    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
13    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
14    be painted on the surface within each access aisle in white letters a minimum of 12 inches
15    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
16    11B-502.3.3.
17          26.    Here, Defendants failed to provide a proper access aisle as the access aisle
18    did not meet the minimum 96-inch width requirement.
19          27.    Under the 1991 Standards, parking spaces and access aisles must be level
20    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
21    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
22    shall be part of an accessible route to the building or facility entrance and shall comply
23    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
24    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
25    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
26    directions. 1991 Standards § 4.6.3.
27          28.    Here, the access aisle is not level with the parking spaces. Under the 2010
28    Standards, access aisles shall be at the same level as the parking spaces they serve.



                                            COMPLAINT - 7
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 8 of 12 Page ID #:8




 1    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 2    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 3    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
 4          29.      A public accommodation shall maintain in operable working condition those
 5    features of facilities and equipment that are required to be readily accessible to and usable
 6    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 7          30.      By failing to maintain the facility to be readily accessible and usable by
 8    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 9    regulations.
10          31.      The Business has denied and continues to deny full and equal access to
11    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
12    discriminated against due to the lack of accessible facilities, and therefore, seeks
13    injunctive relief to alter facilities to make such facilities readily accessible to and usable
14    by individuals with disabilities.
15                                  SECOND CAUSE OF ACTION
16                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
17          32.      Plaintiff incorporates by reference each of the allegations in all prior
18    paragraphs in this complaint.
19          33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
20    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
21    national origin, disability, medical condition, genetic information, marital status, sexual
22    orientation, citizenship, primary language, or immigration status are entitled to the full
23    and equal accommodations, advantages, facilities, privileges, or services in all business
24    establishments of every kind whatsoever.”
25          34.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
26    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
27    for each and every offense for the actual damages, and any amount that may be
28    determined by a jury, or a court sitting without a jury, up to a maximum of three times the



                                              COMPLAINT - 8
     Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 9 of 12 Page ID #:9




 1    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 2    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 3    person denied the rights provided in Section 51, 51.5, or 51.6.
 4          35.    California Civil Code § 51(f) specifies, “a violation of the right of any
 5    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 6    shall also constitute a violation of this section.”
 7          36.    The actions and omissions of Defendants alleged herein constitute a denial
 8    of full and equal accommodation, advantages, facilities, privileges, or services by
 9    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
10    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
11    51 and 52.
12          37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
13    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
14    damages as specified in California Civil Code §55.56(a)-(c).
15                                   THIRD CAUSE OF ACTION
16                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
17          38.    Plaintiff incorporates by reference each of the allegations in all prior
18    paragraphs in this complaint.
19          39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
20    entitled to full and equal access, as other members of the general public, to
21    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
22    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
23    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
24    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
25    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
26    places of public accommodations, amusement, or resort, and other places in which the
27    general public is invited, subject only to the conditions and limitations established by
28    law, or state or federal regulation, and applicable alike to all persons.



                                              COMPLAINT - 9
 Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 10 of 12 Page ID #:10




 1         40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2   corporation who denies or interferes with admittance to or enjoyment of public facilities
 3   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5   the actual damages, and any amount as may be determined by a jury, or a court sitting
 6   without a jury, up to a maximum of three times the amount of actual damages but in no
 7   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8   determined by the court in addition thereto, suffered by any person denied the rights
 9   provided in Section 54, 54.1, and 54.2.
10         41.    California Civil Code § 54(d) specifies, “a violation of the right of an
11   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12   constitute a violation of this section, and nothing in this section shall be construed to limit
13   the access of any person in violation of that act.
14         42.    The actions and omissions of Defendants alleged herein constitute a denial
15   of full and equal accommodation, advantages, and facilities by physically disabled
16   persons within the meaning of California Civil Code § 54. Defendants have
17   discriminated against Plaintiff in violation of California Civil Code § 54.
18         43.    The violations of the California Disabled Persons Act caused Plaintiff to
19   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20   statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                FOURTH CAUSE OF ACTION
22                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23         44.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         45.    Plaintiff and other similar physically disabled persons who require the use of
26   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27   such facility is in compliance with the provisions of California Health & Safety Code §
28




                                           COMPLAINT - 10
 Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 11 of 12 Page ID #:11




 1   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2   provisions of California Health & Safety Code § 19955 et seq.
 3          46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4   that public accommodations or facilities constructed in this state with private funds
 5   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6   Title 1 of the Government Code. The code relating to such public accommodations also
 7   require that “when sanitary facilities are made available for the public, clients, or
 8   employees in these stations, centers, or buildings, they shall be made available for
 9   persons with disabilities.
10          47.    Title II of the ADA holds as a “general rule” that no individual shall be
11   discriminated against on the basis of disability in the full and equal enjoyment of goods
12   (or use), services, facilities, privileges, and accommodations offered by any person who
13   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14   Further, each and every violation of the ADA also constitutes a separate and distinct
15   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16   award of damages and injunctive relief pursuant to California law, including but not
17   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                   FIFTH CAUSE OF ACTION
19                                         NEGLIGENCE
20          48.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22          49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24   to the Plaintiff.
25          50.    Defendants breached their duty of care by violating the provisions of ADA,
26   Unruh Civil Rights Act and California Disabled Persons Act.
27          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28   has suffered damages.



                                            COMPLAINT - 11
 Case 2:23-cv-06936-MWF-MRW Document 1 Filed 08/23/23 Page 12 of 12 Page ID #:12




 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3   Defendants as follows:
 4         1.     For preliminary and permanent injunction directing Defendants to comply
 5   with the Americans with Disability Act and the Unruh Civil Rights Act;
 6         2.     Award of all appropriate damages, including but not limited to statutory
 7   damages, general damages and treble damages in amounts, according to proof;
 8         3.     Award of all reasonable restitution for Defendants’ unfair competition
 9   practices;
10         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11   action;
12         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13         6.     Such other and further relief as the Court deems just and proper.
14                              DEMAND FOR TRIAL BY JURY
15         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16   demands a trial by jury on all issues so triable.
17
18   Dated: August 23, 2023                  SO. CAL. EQUAL ACCESS GROUP
19
20
21                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
22                                                  Attorneys for Plaintiff
23
24
25
26
27
28




                                           COMPLAINT - 12
